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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:10CR158
                      Plaintiff,              )
                                              )
       vs.                                    )
                                              )                    ORDER
CARLOS LOMELI,                                )
                                              )
                      Defendant.              )


       This matter is before the court on the defendant Carlos Lomeli's Motion for Release

From Pretrial Detention (#392). The defendant moves the court for an order releasing him

from pretrial detention based upon the length of his detention and future delays of his trial

date resulting from pending pretrial motions. I find the motion should be denied.

       After review of the defendant's May 5, 2010 Amended Pretrial Services Report

(#40), the October 19, 2012 Pretrial Service Violation report (#377), and the court's

October 25, 2011 Order granting the Amended Petition for Action on Conditions of Pretrial

Release and revoking the Order Setting Conditions of Release (#382), I find the issues

presented in the motion fail to rebut the presumption of detention under 18 U.S.C.

§ 3142(e). Additionally, I note that while the motion alleges that sufficient punishment has

already been received by the defendant for his failed drug test under condition of release,

the issue of punishment is not an issue of detention, and further review of the docket

demonstrates that the crimes charged within the indictment carry penalties of ten years to

life, four years, and five years.

       I find the defendant is both a flight risk and a danger, and that no single condition

of release or combinations of release conditions would mitigate my concern.
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      IT IS ORDERED that defendant's Motion for Release From Pretrial Detention (#392)

is denied without hearing.

      Dated this 3rd day of May 2012.

                                         BY THE COURT:


                                         S/ F.A. Gossett, III
                                         United States Magistrate Judge




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